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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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Caze D. Thomas,

Plaintiff,
18-cv-3691 (AJN)
~_V-
ORDER
Five Star Electric, et al.,

Defendants.

 

 

ALISON J. NATHAN, District Judge:

On October 4, 2018, Defendant New York State Division of Human Rights (““DHR”)
filed a letter informing the Court that it had not been properly served in this action by Plaintiff,
who is proceeding pro se. Dkt. No. 30. In an Order dated October 16, 2018, the Court stayed
DHR’s time to answer, move, or otherwise respond to the amended complaint pending proper
service. Dkt. No. 32. In order to give pro se Plaintiff an opportunity to effectuate service in
accordance with that Order, the Clerk of the Court is respectfully directed to re-issue a summons
as to DHR.

This Order will be mailed by Chambers to the pro se Plaintiff and that mailing will be

noted on the public docket.

SO ORDERED.

Dated: November a , 2018
New York, New York AN

‘ALISON J. NATHAN
United States District Judge

 
